      Case 1:17-cv-00031-JCG           Document 224          Filed 08/23/24       Page 1 of 3




              IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE JENNIFER CHOE-GROVES, JUDGE

_____________________________________
                                     )
UNITED STATES,                       )
                  Plaintiff,         )
                                     )
            v.                       )
                                     )                        Court No. 17-00031
GREENLIGHT ORGANIC, INC., and        )
PARAMBIR SINGH “SONNY” AULAKH, )
                                     )
                  Defendants.        )
_____________________________________)

   JOINT STATUS REPORT AND MOTION TO CANCEL STATUS CONFERENCE

       Pursuant to Rules 1 and 7 of the Rules of the United States Court of International Trade

(USCIT R.), plaintiff, the United States, and defendants, Greenlight Organic, Inc. and Parambir

Singh “Sonny” Aulakh, are pleased to report that they have entered into a written settlement

agreement that resolves all claims raised in this action. Pursuant to the terms of their settlement

agreement, the parties anticipate filing a stipulation of dismissal of this action following the

performance of certain actions specified in the settlement agreement. Because the predicate for

filing the stipulation of dismissal is not expected to occur prior to the rescheduled the status

conference currently scheduled for September 4, 2024, see Order, June 21, 2024, ECF No. 223,

the parties request that the Court cancel the status conference in light of stipulation of dismissal

that the parties expect to file in October 2024.

       For the foregoing reasons, we respectfully request that the Court grant this joint motion to

cancel the status conference currently scheduled to be held on September 4, 2024.
     Case 1:17-cv-00031-JCG   Document 224     Filed 08/23/24      Page 2 of 3




                                         Respectfully submitted,

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August 23, 2024




                                     2
     Case 1:17-cv-00031-JCG        Document 224        Filed 08/23/24      Page 3 of 3




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UNITED STATES,                       )
                  Plaintiff,         )
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            v.                       )
                                     )                   Court No. 17-00031
GREENLIGHT ORGANIC, INC., and        )
PARAMBIR SINGH “SONNY” AULAKH, )
                                     )
                  Defendants.        )
_____________________________________)


                                         ORDER

      Upon consideration of the parties’ joint status report and motion to cancel the status

conference scheduled for September 4, 2024, and finding good cause, it is hereby

       ORDERED that the joint motion to cancel the status conference is granted.

Dated:


          New York, N.Y.                            Jennifer Choe-Groves, Judge
